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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     UNITED STATES OF AMERICA,                        Case No. 15-cr-00345-JD-2
                                                        Plaintiff,
                                   8
                                                                                          ORDER RE COMPASSIONATE
                                                 v.                                       RELEASE
                                   9

                                  10     ANTOINE AROCHE,                                  Re: Dkt. No. 218
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          In January 2017, defendant Antoine Aroche pleaded guilty to one count of possession with

                                  14   intent to distribute and distribution of 50 grams or more of methamphetamine. Dkt. No. 130. He

                                  15   was sentenced to a mandatory minimum term of 120 months imprisonment three months later.

                                  16   See Dkt. Nos. 168, 169.

                                  17          Aroche now asks the Court for a transfer to home confinement under Section 12003(b)(2)

                                  18   of the Coronavirus Aid, Relief, and Economic Security Act (CARES Act), Pub. L. No. 116-136,

                                  19   134 Stat. 281 (Mar. 27, 2020), and for compassionate release under 18 U.S.C. § 3582(c)(1)(A).

                                  20   Dkt. No. 209. The government opposed both requests. Dkt. No. 212. The Court appointed

                                  21   counsel for Aroche, Dkt. No. 213, who filed an amended motion asking the Court to recommend

                                  22   that Aroche be placed in home confinement or “furloughed,” which means temporarily released

                                  23   from custody. Dkt. No. 218. Counsel also filed a supplemental memorandum discussing

                                  24   compassionate release under Section 3582(c)(1)(A). Dkt. No. 220. Although Aroche’s briefs

                                  25   were out of sequence and not, strictly speaking, permissible without the Court’s permission, the

                                  26   government responded to all of Aroche’s arguments in its opposition, and does not seek additional

                                  27   briefing. Dkt. No. 221. Aroche’s motions are denied.

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                                   1           The Court may consider a compassionate release request only if the defendant has

                                   2   exhausted his administrative remedies, or if thirty days have passed since the defendant made a

                                   3   request to the Bureau of Prisons (BOP). 18 U.S.C. § 3582(c)(1)(A)(i). This threshold requirement

                                   4   has been satisfied because Aroche made a request to the BOP on July 20, 2020, and more than

                                   5   thirty days have passed since then. Dkt. No. 220-3. The government says this request was

                                   6   defective because it did not include a release plan. Dkt. No. 221 at 5. The record indicates

                                   7   otherwise. Aroche expressly referred to Section 3582(c)(1)(A) in his administrative request, and

                                   8   stated that he wanted to be “released home to my family.” Dkt. No. 220-3. He also said that the

                                   9   reasons for the request and the details about where he wanted to be released had been “stated

                                  10   before,” id., by which he meant a prior request under the CARES Act that expressed his plans to

                                  11   obtain employment, his community and family ties, and other plans for his release, see Dkt. No.

                                  12   218-5. The Court finds that these materials were enough to trigger the 30-day clock, which is now
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                                  13   exhausted.

                                  14           Even so, compassionate release is not warranted because “extraordinary and compelling

                                  15   reasons” are not demonstrated by the record. 18 U.S.C. § 3582(c)(1)(A)(i). Extraordinary

                                  16   circumstances typically take the form of a defendant with a terminal illness or a serious medical

                                  17   condition that cannot be mitigated without compassionate release. See, e.g., United States v. Zahn,

                                  18   No. 4:18-CR-00150-JD-1, 2020 WL 3035795, at *1 (N.D. Cal. June 6, 2020). Like many

                                  19   incarcerated defendants recently, Aroche seeks release on the basis of the COVID-19 pandemic.

                                  20   This can be a sound reason for release when, for example, a defendant has recognized risk factors

                                  21   for death or severe illness from COVID-19, and is in a facility where the infection count is

                                  22   substantial. See, e.g., id.

                                  23           Neither factor is present here. Aroche is 37 years old, and has not alleged any health or

                                  24   medical circumstances that might place him at a heightened risk from COVID-19 infection. The

                                  25   BOP facility in Rochester, Minnesota, where Aroche has been incarcerated reported positive tests

                                  26   for 43 inmates and three staff members, and zero deaths, relative to a total inmate population of

                                  27   614. See COVID-19 Coronavirus, Federal Bureau of Prisons (accessed October 14, 2020, 12:36

                                  28   PM), https://www.bop.gov/coronavirus/; see also FMC Rochester, Federal Bureau of Prisons
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                                   1   (accessed October 14, 2020, 12:36 PM), https://www.bop.gov/locations/institutions/rch/. These

                                   2   facts do not support the extraordinary relief of early release from custody.

                                   3          Aroche also says that he should be released to help care for his two daughters, one of

                                   4   whom has injuries from a car accident. See Dkt. No. 218-4. This too is no basis for extraordinary

                                   5   relief. Virtually every incarcerated person is in similar circumstances, and Aroche has not

                                   6   tendered any evidence suggesting that he stands out for a compelling reason.

                                   7          For the home confinement or furlough request, the Court may only make a non-binding

                                   8   recommendation to the BOP. See United States v. Ceballos, 671 F.3d 852, 855 (9th Cir. 2011).

                                   9   The Court declines to make a recommendation here because it is not warranted by the record.

                                  10          IT IS SO ORDERED.

                                  11   Dated: October 20, 2020

                                  12
Northern District of California
 United States District Court




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                                                                                                    JAMES DONATO
                                  14                                                                United States District Judge
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